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 4
     Attorney for Defendant
 5   YORN DORN
 6
 7
 8                  IN THE UNITED STATES DISTRICT COURT
 9                      EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )       CV-F-06-00313 LJO
                                           )
12         Plaintiff,                      )       REQUEST TO DELAY
                                           )       PRISON SURRENDER PENDING
13                                         )       DESIGNATION OF FACILITY
                                           )
14                                         )
           v.                              )
15                                         )       Existing date: August 7, 2009 at
                                           )       2:00 p.m.
16   YORN DORN, et al.                     )       New date requested: September 11,
                                           )       2009 at 2:00 p.m.
17                                         )
           Defendants.                     )
18                                         )
19         TO THE HONORABLE LAWRENCE J. O’NEILL, JUDGE OF THE
20   EASTERN DISTRICT, and to KATHLEEN SERVATIUS counsel for the
21   government:
22         YORN DORN’s surrender date was set for August 7, 2009 at 2:00 p.m.
23   There is no designated facility yet. MONTE OLSON of Pretrial Services, who has
24   been in contact with the United States Marshall Service, notified counsel
25   KATHERINE HART that a proposed surrender date of September 11, 2009 should
26   be a sufficient amount of time within which to establish his prison designation.
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28                                             1
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 1   Counsel KATHERINE HART left a voicemail message at 11: 15 am on August 3,
 2   2009 for government’s counsel, notifying her of the request for an extension of the
 3   surrender date; the voicemail message for KATHLEEN SERVATIUS stated that
 4   she was out of the office for two weeks.
 5         Therefore, for good cause, counsel requests that YORN DORN’s surrender
 6   date be extended to Friday, September 11, 2009 at 2:00 p.m.
 7
 8   DATED: August 3, 2009                         /s/Katherine Hart
                                                   KATHERINE HART, Attorney for
 9                                                 YORN DORN
10
11
                                         ORDER
12
13
           Since this request was received, chambers has received a “No objection”
14
     message from AUSA Servatius. Good cause appearing, it is hereby ordered that
15
     the surrender date of YORN DORN be extended to Friday, September 11, 2009 at
16
     2:00 p.m. All terms and conditions of release remain in full force and effect.
17
18
19
20
     IT IS SO ORDERED.
21
     Dated:     August 3, 2009              /s/ Lawrence J. O'Neill
22   b9ed48                             UNITED STATES DISTRICT JUDGE
23
24
25
26
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28                                           2
